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UNITED sTATEs DISTRICT coURT stan c /M. n C
wEsTERN DISTRICT oF TENNESSEE " '
Western Division 05 JUL 25 PH '-F 22
UNITED sTArEs oF AMERICA const
-v- Case No. 2:05cr20272-Ma
ALBERT sMITH
ORDER SETT|NG

COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Oft'ice, Probation Off`lce, defense counsel

and the U.S. Attorney in writing of any change in address and telephone nurnber.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed. The defendant shall next appear as directed by the Court

ADDITlONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 Execute a bond in the amount of $10,000.00. This bond shall also be executed by BAILBOND as surety
[or other solvent surety].

0 report as directed by the Pretrial Services Office.

0 Maintain or actively seek employment

0 Refrain from possessing a firearm, destructive device, or other dangerous weapon.

0 Refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §

802, unless with prior written approval of the Pretrial Services Officer or as may be lawfully prescribed in
writing by a licensed medical practitioner.

0 Subrnit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance Such methods may be used with random

AO 199A Order Se\ling Cond`liions of Re|ease

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frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing

0 Participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretrial Services and pay a percentage of the fee as determined by Pretrial Services.

0 Participate in an electronic monitoring program as directed by Pretrial Services. You shall pay all or part of
the cost of the program based upon your ability to pay as determined by Pretrial Services.

0 Other: Defendant to bear a portion of the cost of electronic monitoring..

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADVlSED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of riot more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of irnprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, vicl:im, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a niisdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

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ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions ofrelease, to appear as directed, and to surrender for service of any sentence imposed I am aware

Of the penalties and Sanctions Set forth aboVe.

Signature of Defendant

Albert Smith

361 Lucy

Memphis, TN 38106
(901) 946~7576

DlRECT|ONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Ofticer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Daie; Juiy 26, 2005 /(O»{Q/¢¢L z Z&Mf

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

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UNITED sTTES DISTRICT OURT - WEERi\iST D"TRCIIT 0 TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20272 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listedl

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

